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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES—GENERAL

  Case No.           CV 19-1156-DMG (PJWx)                                         Date     August 21, 2019

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  Present: The Honorable              DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                      KANE TIEN                                                    NOT REPORTED
                      Deputy Clerk                                                  Court Reporter

      Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
               None Present                                                         None Present

  Proceedings: IN CHAMBERS - ORDER RE DEFENDANTS’ MOTION TO SEVER FOR
               IMPROPER JOINDER, FOR A MORE DEFINITE STATEMENT, AND
               TO STRIKE SCANDALOUS AND IMMATERIAL PORTIONS OF THE
               COMPLAINT [30]

           On February 14, 2019, Plaintiffs Paramount Pictures Corporation; Columbia Pictures
  Industries, Inc.; Disney Enterprises, Inc.; Twentieth Century Fox Film Corporation; Warner
  Bros. Entertainment, Inc.; Universal City Studios Productions LLLP; Universal Television LLC;
  and Universal Content Productions LLC filed a Complaint against Defendant Omniverse One
  World Television, Inc., and its Chief Executive Officer and founder, Defendant Jason DeMeo,
  alleging the following three causes of action: (1) copyright infringement; (2) intentionally
  inducing the infringement of copyrighted works; and (3) contributory copyright infringement by
  knowingly and materially contributing to the infringement of copyrighted works. [Doc. # 1.] On
  April 10, 2019, Defendants filed a motion (1) to sever for improper joinder of party plaintiffs, (2)
  for a more definite statement, and (3) to strike scandalous and immaterial portions of the
  Complaint. [Doc. # 30]. The motion has since been fully briefed. [Doc. ## 34, 37.] Having
  carefully reviewed the parties’ written submissions, the Court DENIES Defendants’ motion in
  its entirety.

                                                     I.
                                            FACTUAL BACKGROUND1

           Plaintiffs own or control copyrights or exclusive rights to reproduce, distribute, and
  publicly perform movies and television shows that they and/or their affiliates produce or
  distribute (“Copyrighted Works”). See Compl. at ¶¶ 1, 6–13, 22, 24. Plaintiffs and/or their
  affiliates have invested, and continue to invest, considerable effort and resources each year to
  develop, produce, distribute, and publicly perform the Copyrighted Works. See id. at ¶ 23.
              1
                  This Part is a summary of the Complaint’s allegations. The Court expresses no opinion as to their
  veracity.

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  Plaintiffs license the Copyrighted Works to “a number of legitimate online streaming services,
  including many well-known services such as Amazon Prime, Hulu TV, Sling, and DirecTV
  Now.” See id. at ¶ 2.

          “Defendants function as a ‘hub’ of sorts” by providing “downstream services” with
  access to unauthorized streams of copyrighted content, including the Copyrighted Works. See id.
  at ¶¶ 1, 33. These downstream services in turn (either directly or through intermediaries) allow
  consumers to access such content through software applications or streaming set-top boxes (i.e.,
  hardware devices that connect to television sets). See id. at ¶¶ 1, 27. Those services offer
  “DVR” recording capabilities, thereby violating Plaintiffs’ exclusive reproduction rights. See id.
  at ¶ 27. One downstream service with which Defendants have a business relationship is Dragon
  Box, which recently agreed to a consent judgment and permanent injunction in a copyright
  infringement lawsuit (i.e., Netflix Studios, LLC, et al. v. Dragon Media Inc., et al. CV 18-230-
  MWF (ASx) (C.D. Cal.)). See Compl. at ¶ 1 & n.1; id. at ¶¶ 18, 30, 37.

          The Complaint alleges that Defendants falsely represent to their downstream services and
  to the press that Defendants are licensed to stream Plaintiff’s Copyrighted Works, and that
  Defendants are permitted to sublicense those rights to downstream services. See id. at ¶¶ 3, 30;
  see also id. at ¶ 27 (“Plaintiffs have not authorized Defendants to copy or stream the Copyrighted
  Works, or to exercise any of Plaintiffs’ other exclusive rights under the Copyright Act, 17 U.S.C.
  § 106.”). For instance, Defendant DeMeo falsely told Cord Cutters News that Defendant
  Omniverse had “acquired rights to [certain television] channels including the ability to stream
  outside by a contract that is only one of three such contracts in the United States.” See id. at ¶¶
  31–32. Additionally, in the Netflix matter, a Dragon Box official testified that Defendant DeMeo
  represented that he has the licenses to stream Plaintiffs’ Copyrighted Works, but has declined to
  provide that official and his counsel with a declaration or with a physical copy of the licenses.
  See id. at ¶ 30.

                                       II.
                      MOTION FOR A MORE DEFINITE STATEMENT

         Federal Rule of Civil Procedure 12(e) provides in pertinent part that “[a] party may move
  for a more definite statement of a pleading to which a responsive pleading is allowed but which
  is so vague or ambiguous that the party cannot reasonably prepare a response.” Defendants
  move for a more definite statement because they supposedly cannot determine the precise nature
  of Plaintiffs’ theory of the case. See Defs.’ Mem. of P. & A. at 5, 9–11 [Doc. # 30-2].
  Specifically, Defendants claim that the Complaint could advance one or both of the following

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  theories of liability: (1) Defendants obtained the Copyrighted Works through outright piracy,
  and/or (2) Defendants merely exceeded the scope of a distribution agreement that purportedly
  exists between Defendants’ supplier of content (i.e., Hovsat Inc.) and DirecTV, Inc. See id. at 5.

          Defendants allege that “Omniverse is [a] marketer and technical provider for Hovsat[,] a
  licensed cable company”; “Hovsat is currently contractually entitled to distribute content under
  its long-standing agreement with DirecTV”; and “[t]he contract between Hovsat and DirecTV
  has no limitations with regard to geographic markets, nor innovating with regard to delivery
  method.” See id. If these averments are true, then they could establish that Defendants did not
  engage in piracy and that Defendants’ conduct fell within the scope of a valid license. See also
  Worldwide Church of God v. Phila. Church of God, 227 F.3d 1110, 1114 (9th Cir. 2000) (“The
  existence of a license creates an affirmative defense to copyright infringement.”). Thus,
  Defendants are not entitled to relief under Rule 12(e) because they would have no difficulty
  answering the Complaint in its current form. See Holmes v. Fischer, 764 F. Supp. 2d 523, 531
  (W.D.N.Y. 2011) (“Motions pursuant to Rule 12(e) are disfavored and should not be granted
  unless the complaint is so excessively vague and ambiguous as to be unintelligible and as to
  prejudice the defendant seriously in attempting to answer it.” (emphasis added) (quoting Greater
  N.Y. Auto. Dealers Ass’n v. Envtl. Sys. Testing, Inc., 211 F.R.D. 71, 76 (E.D.N.Y. 2002))). To
  the extent that Defendants need further clarity on this question in order to prepare for dispositive
  motions and/or a trial in this matter, Defendants may propound appropriately tailored discovery
  requests. See Neveu v. City of Fresno, 392 F. Supp. 2d 1159, 1169 (E.D. Cal. 2005) (“If the
  detail sought by a motion for a more definite statement is obtainable through discovery, the
  motion should be denied.”).

                                        III.
                       MOTION TO SEVER FOR IMPROPER JOINDER

          Federal Rule of Civil Procedure 20(a)(1) provides that “[p]ersons may join in one action
  as plaintiffs if: . . . they assert any right to relief jointly, severally, or in the alternative with
  respect to or arising out of the same transaction, occurrence, or series of transactions or
  occurrences; and . . . any question of law or fact common to all plaintiffs will arise in the action.”
  “Permissive joinder is to be liberally construed to promote the expeditious determination of
  disputes, and to prevent multiple lawsuits.” Cuprite Mine Partners LLC v. Anderson, 809 F.3d
  548, 552 (9th Cir. 2015). Further, Rule 21 permits a court to “add or drop” or “sever any claim
  against a party” that was misjoined. See Fed. R. Civ. P. 21.




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          Defendants move to dismiss all Plaintiffs, except Lead Plaintiff Paramount Pictures
  Corporation, on the ground that Plaintiffs have not asserted a right to relief arising out of the
  same transaction, occurrence, or series of transactions or occurrences.2 See Notice of Mot. at 2
  [Doc. # 30].3 The Complaint alleges that “Defendants transmit streams of unauthorized movies
  and television programs—including the Copyrighted Works—to numerous downstream
  services.” See Compl. at ¶ 27. It further avers that these downstream services—either directly or
  through intermediaries—allow consumers to watch “premium channels owned by Plaintiffs or
  their affiliates, including FX, the Disney Channel, FreeForm, and USA, as well as others that
  also offer the Copyrighted Works.” See, e.g., id. at ¶ 46. Since Defendants allegedly use this
  business model to exploit Copyrighted Works belonging to each of the eight Plaintiffs, their
  claims arise out of the same series of transactions or occurrences. See Coughlin v. Rogers, 130
  F.3d 1348, 1350 (9th Cir. 1997) (noting that joinder may be appropriate if the plaintiffs’ “claims
  arise out of a systematic pattern of events”); cf. Fox TV Stations, Inc. v. Aerokiller, LLC, 851
  F.3d 1002, 1006–07 (9th Cir. 2017) (multiple broadcast stations filed suit against an entity that
  “operates a service that uses antennas to capture over-the-air broadcast programming, much of
  which is copyrighted, and then uses the Internet to retransmit such programming to paying
  subscribers, all without the consent or authorization of copyright holders” (emphasis added)).4
  Moreover, although Defendants contend that there are many different means by which an
  infringer can obtain access to copyrighted material (e.g., recording a film in a theater), that
  observation has no bearing on the instant motion because Defendants admit that they obtain the

           2
              Defendants argue for the first time in their Reply that joinder is improper because “[t]here are unique
  questions of fact and law that affect the copyright claims, which Plaintiffs fail to address[,] relating to how the
  material was copied.” See Reply at 2 [Doc. # 37]. The Court need not address this argument because Defendants
  failed to timely raise it. See Zamani v. Carnes, 491 F.3d 990, 996 (9th Cir. 2007) (“The district court need not
  consider arguments raised for the first time in a reply brief.”). Defendants also argue in a conclusory fashion that
  “being forced to litigate multiple counts of piracy covering all eight Plaintiffs and their respective properties and
  unique facts would be fundamentally unfair.” See Defs.’ Mem. of P. & A. at 9 [Doc. # 30-2]; Fed. R. Civ. P.
  7(b)(1)(B) (“A request for a court order must be made by motion. The motion must: . . . state with particularity the
  grounds for seeking the order . . . .”).
           3
               All page references herein are to page numbers inserted by the CM/ECF system.
           4
              Defendants assert that this matter is distinguishable from Aereokiller because “Omniverse is not
  redistributing captured television signals over the internet . . . .” See Reply at 7 [Doc. # 37]. The Court disregards
  this assertion because it is not supported by any citation to the record. See Lofton v. Verizon Wireless (VAW) LLC,
  308 F.R.D. 276, 286 (N.D. Cal. 2015) (“[A]ttorney argument is not evidence on which the court can rely.”).
  Further, assuming arguendo that Defendants do not obtain Plaintiffs’ Copyrighted Works via captured television
  signals, Plaintiffs’ claims nonetheless arise out of the same series of transactions or occurrences because Defendants
  transmit all such content to downstream entities.

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  Copyrighted Works from a common source—i.e., Hovstat. See Defs.’ Mem. of P. & A. at 5, 8–
  10 (“The Complaint . . . alleges Omniverse does not have authorization to market Hovsat’s
  licensed content.”) [Doc. # 30-2]; see also 32 C.J.S. Evidence § 542 (2012) (“Any deliberate,
  clear, and unequivocal statement, either written or oral, made in the course of a judicial
  proceeding, qualifies as a judicial admission. . . . Unless withdrawn, a judicial admission is
  binding on the parties . . . .” (footnotes omitted)). Therefore, Defendants’ operations constitute a
  series of related transactions and occurrences that give rise to Plaintiffs’ allegations.

          The authorities upon which Defendants rely do not compel the opposite conclusion. The
  Court in On the Cheap, LLC v. Does 1–5011, 280 F.R.D. 500 (N.D. Cal. 2011), merely found
  that even though thousands of Djoe defendants decided to “download[] the same file[,]” that “did
  not mean that each of the defendants [was] engaged in the same transaction or occurrence” such
  that their joinder was proper. See id. at 502–03. On the Cheap did not decide whether an alleged
  infringer’s transmissions of copyrighted work belonging to multiple plaintiffs constitute “the
  same . . . series of transactions or occurrences” for the purposes of Rule 20(a). See Fed. R. Civ.
  P. 20(a)(1)(A) (emphasis added). Papagiannis v. Pontikis, 108 F.R.D. 177 (N.D. Ill. 1985),
  concluded that it was improper to join fraud claims belonging to two groups of plaintiffs that
  involved “wholly separate encounters with a confidence man” who “follow[ed] the same routine
  in cheating each” group because “face-to-face fraud . . . necessarily requires individualized
  proof.” See id. at 179. Although Defendants argue that “[e]ach alleged broadcast may have
  individualized facts specific to that work[,]” they do not argue—let alone offer any evidence
  establishing—that the evidence underlying each Plaintiffs’ copyright claims will likely differ
  materially. See Reply at 8 (emphasis added) [Doc. # 37]. Therefore, they have not shown that
  Papagiannis calls for the severance of Plaintiffs’ claims.

          In sum, Defendants have not shown that the joinder of Plaintiffs’ claims was improper.

                                             IV.
                                       MOTION TO STRIKE

          Federal Rule of Civil Procedure 12(f) provides in relevant part that “[t]he court may
  strike from a pleading an insufficient defense or any redundant, immaterial, impertinent, or
  scandalous matter.” See Fed. R. Civ. P. 12(f). “Motions to strike are generally disfavored, and
  should not be granted unless the matter to be stricken clearly could have no possible bearing on
  the subject of the litigation . . . .” Holmes v. Elec. Document Processing, Inc., 966 F. Supp. 2d
  925, 930 (N.D. Cal. 2013) (internal quotation marks omitted). “Immaterial matter is that which
  has no essential or important relationship to the claim for relief or the defenses being pleaded.”

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  Id. at 938 (internal quotation marks omitted). Further, “[s]candalous material is defined as
  allegations that cast a cruelly derogatory light on a party or person.” Id. (internal quotation
  marks omitted).

          Defendants move to strike references in the Complaint to Dragon Box on the grounds that
  they are immaterial and scandalous.5 See Defs.’ Mem. of P. & A. at 11–13 [Doc. # 30-2]. In
  support of this position, Defendants claim that the plaintiffs in Netflix accused Dragon Box of
  providing customers with software that “scour[ed] the Internet for illegal sources of copyrighted
  content and returning links to that content.” See id. at 12. Defendants further assert that the
  Netflix judgment awarded $14.5 million to the plaintiffs in that case for open and notorious
  piracy.” See id. They contend that “[c]omparisons between Omniverse and Dragon Box are
  immaterial because Dragon Box is a hardware device utilizing software to search and link pirated
  content and Omniverse is a marketing partner of a cable company.” See id. at 13. They further
  argue that “[c]omparisons between Omniverse and Dragon Box are . . . scandalous because
  comparing the two unlike entities damages Omniverse through guilt by (misplaced)
  association.”6 See id.

          Defendants’ contentions regarding the technology employed by Dragon Box are
  irrelevant because Complaint does not aver that Defendants obtained access to Plaintiffs’
  Copyrighted Works using that type of technology. Further, the Complaint alleges that
  “Defendants operate at a higher level in the supply chain of infringing content” than Dragon
  Box, and that “Defendants do business with . . . Dragon Box” and other downstream entities,
  which in turn “provide unauthorized streams of the Copyrighted Works to California residents.”
  See Compl. at ¶¶ 1, 18; see also id. at ¶¶ 27, 33, 37 (alleging that “Defendants transmit streams
  of . . . the Copyrighted Words” to (inter alia) “Dragon Box’s Blend TV and MyTVHub”
  downstream services). Additionally, the Complaint mentions the Netflix matter in order to
  provide context for a Dragon Box official’s testimony that Defendant DeMeo: (1) represented
  that he had licenses for Plaintiffs’ content, but (2) refused to provide that official or his counsel
  with a declaration or with a physical copy of the licenses. See id. at ¶ 1 n.1; id. at ¶ 30. The
  Complaint does not otherwise discuss the Netflix case or suggest that Plaintiffs’ business
          5
            Specifically, Defendants seek an order striking footnote 1 and paragraphs 1, 3, 30, and 37 of the
  Complaint. See Notice of Mot. at 2 [Doc. # 30].
           6
             In connection with the motion to strike, Defendants request judicial notice of certain documents from the
  Netflix matter. [Doc. # 32.] The Court DENIES Defendants’ request as moot because the Court would deny the
  motion to strike regardless of whether their characterizations of the Netflix case were accurate. Plaintiffs’ request
  for judicial notice of a declaration filed in the Netflix matter is also DENIED as moot because the Court need not
  rely upon that document to resolve the motion to strike. [Doc. # 35.]

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  operations are akin to those of Dragon Box. See, e.g., id. at ¶ 1 (“Defendants are not . . . just an
  infringing, consumer-facing service, akin to Dragon Box.” (emphasis added)). As these
  allegations concern whether Defendants willfully infringed Plaintiffs’ copyrights, they are not
  immaterial. See Friedman v. Live Nation Merch., Inc., 833 F.3d 1180, 1186 (9th Cir. 2016) (“To
  prove willfulness under the Copyright Act, the plaintiff must show (1) that the defendant was
  actually aware of the infringing activity, or (2) that the defendant’s actions were the result of
  ‘reckless disregard’ for, or ‘willful blindness’ to, the copyright holder’s rights.” (quoting Louis
  Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d 936, 944 (9th Cir. 2011)) (internal
  quotation marks omitted)). For that same reason, they do not “cast a cruelly derogatory light” on
  Defendants. See Holmes, 966 F. Supp. 2d at 930 (internal quotation marks omitted).

                                               V.
                                           CONCLUSION

        For the foregoing reasons, the Court DENIES Defendants’ motion in its entirety.
  Defendants shall file an Answer to the Complaint within 21 days of the date of this Order.

  IT IS SO ORDERED.




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